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                 EXHIBIT 22
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                                                                   PŘǾĐŲČŤȘ         &   PŘİČİŇĢ           ŲȘĚ   ČǺȘĚȘ       ǺPİ   &   ĐǾČȘ          ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?               ȘİĢŇ   ŲP       ĿǾĢ   İŇ




  țẅįŀįǿ
    ŤẄİĿİǾ           ĐǾČȘ
                                                                                                                                       Qųįčķșțǻřț         Țųțǿřįǻŀș        ǺPİ Řěfěřěňčě       Ħěŀpěř Ŀįbřǻřįěș




                                                                                                                                  Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
    țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                          ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                  ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
    pħp | ŀǻřǻvěŀ                                            MǾŘĚ             ĿǺŇĢŲǺĢĚȘ           ĢĚŤ   ŤĦĚ   ČǾĐĚ                pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ħǻřđěř fǿř ěvįŀđǿěřș țǿ
                                                                                                                                  čǿmpřǿmįșě ǻ ųșěř ǻččǿųňț bỳ ǻŀșǿ vǻŀįđǻțįňģ șǿměțħįňģ ǻ
                                                             Č# | ǺȘP.ŇĚȚ MVČ                     Vįěẅ ǿň ĢįțĦųb
                                                                                                                                  ųșěř ħǻș, ŀįķě ǻ mǿbįŀě pħǿňě.
                                                             Jǻvǻ | Șěřvŀěțș                      Đǿẅňŀǿǻđ Șǿųřčě
                                                                                                                                  İň țħįș țųțǿřįǻŀ, ẅě ẅįŀŀ șħǿẅ ỳǿų ħǿẅ țǿ vǻŀįđǻțě bǿțħ ǿf țħěșě
                                                             Ňǿđě.jș | Ěxpřěșș                    Đěpŀǿỳ Ňǿẅ                      fǻčțǿřș įň ǻ șįmpŀě țǿķěň-bǻșěđ ŀǿģįň șỳșțěm. Țǿ mǻķě
                                                                                                                                  ěvěřỳțħįňģ ǻ bįț șįmpŀěř, ẅě'ŀŀ ǻŀșǿ bě ųșįňģ Țẅįŀįǿ-pǿẅěřěđ
                                                             PĦP | Ŀǻřǻvěŀ
                                                                                                                                  Ǻųțħỳ. Ǻųțħỳ ħěŀpș ħǻňđŀě ǻŀŀ țħě mǿvįňģ pǻřțș ǻșșǿčįǻțěđ
                                                             Pỳțħǿň | Fŀǻșķ                                                       ẅįțħ 2FǺ, įňčŀųđįňģ șěňđįňģ ǿňě-țįmě pǻșșẅǿřđș vįǻ țěxț
                                                                                                                                  měșșǻģě țǿ ỳǿųř ųșěřș. Șčřǿŀŀ đǿẅň țħįș pǻģě țǿ ģěț șțǻřțěđ!
                                                             Řųbỳ | Řǻįŀș




                                                                                                                      PĦP Țųțǿřįǻŀ
                                                                                                                                                                                           Vįěẅ Fųŀŀ Șčřěěň 
                                                                                            / ǻpp / Ųșěř.pħp                                                                                                 
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ


                                                                                              1     <?php namespace App;
                                                                                             2
      țǿ įmpŀěměňț țẅǿ-fǻčțǿř
    Ŀěǻřň             Ňěxț: Čǿňfįģųřįňģ Ǻųțħỳ                                                3     use Authy\AuthyApi as AuthyApi;
    ǻųțħěňțįčǻțįǿň (2FǺ) įň ỳǿųř ẅěb ǻpp ẅįțħ                                                 4     use Illuminate\Auth\Authenticatable;
    ǺBǾŲŤ         ŤĦİȘ         ǺPPĿİČǺŤİǾŇ
                                                                                              5     use Illuminate\Database\Eloquent\Model;
    Țẅįŀįǿ-pǿẅěřěđ Ǻųțħỳ. 2FǺ ħěŀpș fųřțħěř                                                   6     use Illuminate\Auth\Passwords\CanResetPassword;
    șěčųřě ỳǿųř ųșěřș' đǻțǻ bỳ vǻŀįđǻțįňģįșmǿřě                                               7     use Illuminate\Contracts\Auth\Authenticatable as AuthenticatableContract;
    Țħįș PĦPĿǻřǻvěŀ șǻmpŀě  ǻppŀįčǻțįǿň     ǻň
                                                                                              8     use Illuminate\Contracts\Auth\CanResetPassword as CanResetPasswordContract;
    țħǻň jųșț ǿf
    ěxǻmpŀě   ǻ pǻșșẅǿřđ.   Țħįș
                 țỳpįčǻŀ ŀǿģįň    țųțǿřįǻŀ
                               fŀǿẅ. Țǿ řųňẅįŀŀ șħǿẅ
                                             țħįș                                             9
    ỳǿų țħě ǻpp
    șǻmpŀě  čǿđěỳǿųřșěŀf,
                 țǿ mǻķěđǿẅňŀǿǻđ
                          įț ħǻppěň.țħě čǿđě                                                 10     class User extends Model implements AuthenticatableContract, CanResetPasswordContract {
                                                                                             11
    ǻňđ fǿŀŀǿẅ țħě įňșțřųčțįǿňș ǿň ĢįțĦųb.                                                   12           use Authenticatable, CanResetPassword;
                                                                                             13
                            ȘȚǺŘȚ ȚŲȚǾŘİǺĿ
    Ǻđđįňģ țẅǿ-fǻčțǿř ǻųțħěňțįčǻțįǿň (2FǺ) țǿ                                                14           /**
                                                                                             15            * The database table used by the model.
    ỳǿųř ẅěb ǻppŀįčǻțįǿň įňčřěǻșěș țħě                                                       16            *
    șěčųřįțỳ ǿf ỳǿųř ųșěř'ș đǻțǻ. Mųŀțį-fǻčțǿř                                               17            * @var string
                                                                                             18            */
    ǻųțħěňțįčǻțįǿň đěțěřmįňěș țħě įđěňțįțỳ ǿf ǻ
                                                                                             19           protected $table = 'users';
    ųșěř bỳ vǻŀįđǻțįňģ ǿňčě bỳ ŀǿģģįňģ įňțǿ țħě                                              20
                                                                                             21           /**
    ǻpp, ǻňđ șěčǿňđ bỳ vǻŀįđǻțįňģ țħěįř mǿbįŀě
                                                                                             22            * The attributes that are mass assignable.
    đěvįčě.                                                                                  23            *
                                                                                             24            * @var array
    Fǿř țħě șěčǿňđ fǻčțǿř, ẅě ẅįŀŀ vǻŀįđǻțě țħǻț                                             25            */
                                                                                             26           protected $fillable = ['name', 'email', 'password', 'phone_number', 'country_code'];
    țħě ųșěř ħǻș țħěįř mǿbįŀě pħǿňě bỳ ěįțħěř:                                               27
                                                                                             28           /**
         Șěňđįňģ țħěm ǻ ǾňěȚǿųčħ pųșħ ňǿțįfįčǻțįǿň                                           29            * The attributes excluded from the model's JSON form.
         țǿ țħěįř mǿbįŀě Ǻųțħỳ ǻpp ǿř                                                        30            *
                                                                                             31            * @var array
                                                                                             32




https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel                                                                                                                           1/2
                                                                                                                     Ex. 22, p. 204
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    ČǾMPǺŇỲ                               PŘǾĐŲČŤȘ                        PŘİČİŇĢ                     ŲȘĚ   ČǺȘĚȘ                 ǺPİ   &   ĐǾČȘ




    Ǻbǿųț Țẅįŀįǿ                          Přǿģřǻmmǻbŀě Vǿįčě              Vǿįčě Přįčįňģ               Čųșțǿměř Șțǿřįěș            Qųįčķșțǻřțș


    Ǿųř Ňįňě Vǻŀųěș                       Ěŀǻșțįč ȘİP Țřųňķįňģ            Měșșǻģįňģ Přįčįňģ           Șħǿẅčǻșě                    Țųțǿřįǻŀș


    Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș             Přǿģřǻmmǻbŀě Vįđěǿ              ȘİP Țřųňķįňģ Přįčįňģ        Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň   ǺPİ Řěfěřěňčě


    Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș       Ħěŀpěř Ŀįbřǻřįěș


    Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș      Bŀǿģ


    Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș                  Ħěŀp


    Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                          Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș


                                          Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                          Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ


                                          Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                      Ẅħįțě Pǻpěřș




    İŇQŲİŘİĚȘ




    Čǿňțǻčț Přěșș                Șųppǿřț

    Přěșș                        Șțǻțųș      Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ   Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel                                                                      2/2
                                                                             Ex. 22, p. 205
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                                 Twilio Docs:             1-22 Filed
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                                                                   PŘǾĐŲČŤȘ         &   PŘİČİŇĢ           ŲȘĚ   ČǺȘĚȘ           ǺPİ    &   ĐǾČȘ          ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                   ȘİĢŇ    ŲP       ĿǾĢ   İŇ




  țẅįŀįǿ
    ŤẄİĿİǾ           ĐǾČȘ
                                                                                                                                            Qųįčķșțǻřț         Țųțǿřįǻŀș        ǺPİ Řěfěřěňčě            Ħěŀpěř Ŀįbřǻřįěș




                                                                                                                                       Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
    țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                               ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                       ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
    pħp | ŀǻřǻvěŀ                                            MǾŘĚ             ĿǺŇĢŲǺĢĚȘ           ĢĚŤ   ŤĦĚ   ČǾĐĚ                     pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ...




                                                                                                                      PĦP Țųțǿřįǻŀ
                                                                                                                                                                                                     Vįěẅ Fųŀŀ Șčřěěň 
                                                                                            / ǻpp / Ųșěř.pħp                                                                                                           
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ


                                                                                              1    <?php namespace App;
                                                                                             2
                                                                Ňěxț: Čǿňfįģųřįňģ Ǻųțħỳ
                                                                                              3    use Authy\AuthyApi as AuthyApi;
                                                                                              4    use Illuminate\Auth\Authenticatable;
    ǺBǾŲŤ         ŤĦİȘ         ǺPPĿİČǺŤİǾŇ
                                                                                              5    use Illuminate\Database\Eloquent\Model;
                                                                                              6    use Illuminate\Auth\Passwords\CanResetPassword;
                                                                                              7    use Illuminate\Contracts\Auth\Authenticatable as AuthenticatableContract;
    Țħįș PĦPĿǻřǻvěŀ șǻmpŀě ǻppŀįčǻțįǿň įș ǻň
                                                                                              8    use Illuminate\Contracts\Auth\CanResetPassword as CanResetPasswordContract;
    ěxǻmpŀě ǿf țỳpįčǻŀ ŀǿģįň fŀǿẅ. Țǿ řųň țħįș                                                9
    șǻmpŀě ǻpp ỳǿųřșěŀf, đǿẅňŀǿǻđ țħě čǿđě                                                   10    class User extends Model implements AuthenticatableContract, CanResetPasswordContract {
                                                                                             11
    ǻňđ fǿŀŀǿẅ țħě įňșțřųčțįǿňș ǿň ĢįțĦųb.                                                   12           use Authenticatable, CanResetPassword;
                                                                                             13
    Ǻđđįňģ țẅǿ-fǻčțǿř ǻųțħěňțįčǻțįǿň (2FǺ) țǿ                                                14           /**
                                                                                             15            * The database table used by the model.
    ỳǿųř ẅěb ǻppŀįčǻțįǿň įňčřěǻșěș țħě                                                       16            *
    șěčųřįțỳ ǿf ỳǿųř ųșěř'ș đǻțǻ. Mųŀțį-fǻčțǿř                                               17            * @var string
                                                                                             18            */
    ǻųțħěňțįčǻțįǿň đěțěřmįňěș țħě įđěňțįțỳ ǿf ǻ
                                                                                             19           protected $table = 'users';
    ųșěř bỳ vǻŀįđǻțįňģ ǿňčě bỳ ŀǿģģįňģ įňțǿ țħě                                              20
                                                                                             21           /**
    ǻpp, ǻňđ șěčǿňđ bỳ vǻŀįđǻțįňģ țħěįř mǿbįŀě
                                                                                             22            * The attributes that are mass assignable.
    đěvįčě.                                                                                  23            *
                                                                                             24            * @var array
    Fǿř țħě șěčǿňđ fǻčțǿř, ẅě ẅįŀŀ vǻŀįđǻțě țħǻț                                             25            */
                                                                                             26           protected $fillable = ['name', 'email', 'password', 'phone_number', 'country_code'];
    țħě ųșěř ħǻș țħěįř mǿbįŀě pħǿňě bỳ ěįțħěř:                                               27
                                                                                             28           /**
         Șěňđįňģ țħěm ǻ ǾňěȚǿųčħ pųșħ ňǿțįfįčǻțįǿň                                           29            * The attributes excluded from the model's JSON form.
         țǿ țħěįř mǿbįŀě Ǻųțħỳ ǻpp ǿř                                                        30            *
                                                                                             31            * @var array
                                                                                             32




    ČǾMPǺŇỲ                                                               PŘǾĐŲČŤȘ                              PŘİČİŇĢ                            ŲȘĚ    ČǺȘĚȘ                     ǺPİ   &   ĐǾČȘ




    Ǻbǿųț Țẅįŀįǿ                                                          Přǿģřǻmmǻbŀě Vǿįčě                    Vǿįčě Přįčįňģ                      Čųșțǿměř Șțǿřįěș                 Qųįčķșțǻřțș


    Ǿųř Ňįňě Vǻŀųěș                                                       Ěŀǻșțįč ȘİP Țřųňķįňģ                  Měșșǻģįňģ Přįčįňģ                  Șħǿẅčǻșě                         Țųțǿřįǻŀș


    Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș                                             Přǿģřǻmmǻbŀě Vįđěǿ                    ȘİP Țřųňķįňģ Přįčįňģ               Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň        ǺPİ Řěfěřěňčě


https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#0                                                                                                                                   1/2
                                                                                                                     Ex. 22, p. 206
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                                 Twilio Docs:             1-22 Filed
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                                                                                     #:229
    Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș    Ħěŀpěř Ŀįbřǻřįěș


    Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș   Bŀǿģ


    Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș               Ħěŀp


    Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                          Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș


                                          Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                          Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ


                                          Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                      Ẅħįțě Pǻpěřș




    İŇQŲİŘİĚȘ




    Čǿňțǻčț Přěșș                Șųppǿřț

    Přěșș                        Șțǻțųș     Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ    Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#0                                                             2/2
                                                                             Ex. 22, p. 207
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                                                                                                                          #:230

                                                                   PŘǾĐŲČŤȘ         &   PŘİČİŇĢ           ŲȘĚ   ČǺȘĚȘ           ǺPİ    &   ĐǾČȘ          ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                   ȘİĢŇ    ŲP       ĿǾĢ   İŇ




  țẅįŀįǿ
    ŤẄİĿİǾ           ĐǾČȘ
                                                                                                                                            Qųįčķșțǻřț         Țųțǿřįǻŀș        ǺPİ Řěfěřěňčě            Ħěŀpěř Ŀįbřǻřįěș




                                                                                                                                       Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
    țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                               ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                       ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
    pħp | ŀǻřǻvěŀ                                            MǾŘĚ             ĿǺŇĢŲǺĢĚȘ           ĢĚŤ   ŤĦĚ   ČǾĐĚ                     pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ...




                                                                                                                      PĦP Țųțǿřįǻŀ
                                                                                                                                                                                                     Vįěẅ Fųŀŀ Șčřěěň 
                                                                                            / .ěňv.ŀǿčǻŀ.pħp                                                                                                           
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ


                                                                                             1    <?php
                                                                 Ňěxț: Ẅħǻț Ģǿěș İňțǿ ǻ     2
                                                                Ŀǿģįň Șỳșțěm?              3    return array(
                                                                                             4
    ČǾŇFİĢŲŘİŇĢ                    ǺŲŤĦỲ
                                                                                             5           'APP_DEBUG' => true,
                                                                                             6           'AUTHY_TOKEN' => getenv('AUTHY_TOKEN') || 'your authy key here',
                                                                                             7
    İf ỳǿų ħǻvěň'ț ǻŀřěǻđỳ, ňǿẅ įș țħě țįmě țǿ
                                                                                             8    );
    șįģň ųp fǿř Ǻųțħỳ. Čřěǻțě ỳǿųř fįřșț
    ǻppŀįčǻțįǿň, ňǻmįňģ įț ẅħǻțěvěř ỳǿų ẅįșħ.
    Ǻfțěř ỳǿų čřěǻțě ỳǿųř ǻppŀįčǻțįǿň, ỳǿųř
    "přǿđųčțįǿň" ǺPİ ķěỳ ẅįŀŀ bě vįșįbŀě ǿň ỳǿųř
    đǻșħbǿǻřđ:




    ČǾMPǺŇỲ                                                               PŘǾĐŲČŤȘ                              PŘİČİŇĢ                            ŲȘĚ    ČǺȘĚȘ                     ǺPİ   &   ĐǾČȘ




    Ǻbǿųț Țẅįŀįǿ                                                          Přǿģřǻmmǻbŀě Vǿįčě                    Vǿįčě Přįčįňģ                      Čųșțǿměř Șțǿřįěș                 Qųįčķșțǻřțș


    Ǿųř Ňįňě Vǻŀųěș                                                       Ěŀǻșțįč ȘİP Țřųňķįňģ                  Měșșǻģįňģ Přįčįňģ                  Șħǿẅčǻșě                         Țųțǿřįǻŀș


    Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș                                             Přǿģřǻmmǻbŀě Vįđěǿ                    ȘİP Țřųňķįňģ Přįčįňģ               Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň        ǺPİ Řěfěřěňčě


https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#1                                                                                                                                   1/2
                                                                                                                     Ex. 22, p. 208
3/27/2016 Case 2:16-cv-02106-PSG-SS       Document
                                 Twilio Docs:             1-22 Filed
                                              Two­Factor Authentication         03/28/16
                                                                        with Authy               Page 7 of 27
                                                                                   with PHP and Laravel                                     Page ID
                                                                                     #:231
    Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș    Ħěŀpěř Ŀįbřǻřįěș


    Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș   Bŀǿģ


    Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș               Ħěŀp


    Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                          Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș


                                          Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                          Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ


                                          Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                      Ẅħįțě Pǻpěřș




    İŇQŲİŘİĚȘ




    Čǿňțǻčț Přěșș                Șųppǿřț

    Přěșș                        Șțǻțųș     Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ    Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#1                                                             2/2
                                                                             Ex. 22, p. 209
3/16/2016 Case 2:16-cv-02106-PSG-SS       Document
                                 Twilio Docs:             1-22 Filed
                                              Two­Factor Authentication         03/28/16
                                                                        with Authy               Page 8 of 27
                                                                                   with PHP and Laravel                                                                                                  Page ID
                                                                                                                              #:232

                                                                   PŘǾĐŲČŤȘ         &     PŘİČİŇĢ             ŲȘĚ   ČǺȘĚȘ           ǺPİ   &   ĐǾČȘ         ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                     ȘİĢŇ   ŲP         ĿǾĢ    İŇ




  țẅįŀįǿ




                                                                                                                                          Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
   țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                                   ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                          ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
   pħp | ŀǻřǻvěŀ                                            MǾŘĚ              ĿǺŇĢŲǺĢĚȘ             ĢĚŤ   ŤĦĚ   ČǾĐĚ                      pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ...




              ŤẄİĿİǾ             ĐǾČȘ
                                                                                                              Qųįčķșțǻřț        Țųțǿřįǻŀș            ǺPİ Řěfěřěňčě         Ħěŀpěř Ŀįbřǻřįěș               ȘİĢŇ   ŲP    ĿǾĢ   İŇ




                                                                                                                         PĦP Țųțǿřįǻŀ
                                                                                                                                                                                                     Vįěẅ Fųŀŀ Șčřěěň 
                                                                                              / ǻpp / Ųșěř.pħp                                                                                                               
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ


                                                                                               32              */
                                                                 Ňěxț: Ŀǿģģįňģ įň ẅįțħ        33             protected $hidden = ['password', 'remember_token', 'authy_status', 'authy_id'];
                                                                Ǻųțħỳ ǾňěȚǿųčħ               34
    Ẅħěň ǻ ňěẅ Ųșěř įș čřěǻțěđ ẅě ǻŀșǿ                                                         35         public function register_authy() {
    řěģįșțěř țħě Ųșěř ẅįțħ Ǻųțħỳ.                                                              36           $authy_api = new AuthyApi(getenv('AUTHY_TOKEN'));
                                                                                               37           $user = $authy_api‐>registerUser($this‐>email, $this‐>phone_number, $this‐>country_code
    Ǻŀŀ Ǻųțħỳ ňěěđș țǿ ģěț ǻ ųșěř șěț ųp fǿř                                                   38
                                                                                               39             if($user‐>ok()) {
    ỳǿųř ǻppŀįčǻțįǿň įș țħě ěmǻįŀ, pħǿňě                                                       40              $this‐>authy_id = $user‐>id();
    ňųmběř ǻňđ čǿųňțřỳ čǿđě. İň ǿřđěř țǿ đǿ                                                    41              $this‐>save();
                                                                                               42              return true;
    țẅǿ-fǻčțǿř ǻųțħěňțįčǻțįǿň, ẅě ňěěđ țǿ                                                      43             } else {
    mǻķě șųřě ẅě ǻșķ fǿř țħěșě țħįňģș ǻț țħě                                                   44               // something went wrong
                                                                                               45               return false;
    pǿįňț ǿf șįģň ųp.                                                                          46             }
                                                                                               47         }
    Ǿňčě ẅě řěģįșțěř țħě Ųșěř ẅįțħ Ǻųțħỳ ẅě                                                    48
                                                                                               49         public function sendOneTouch($message) {
    ģěț ǻň id bǻčķ țħǻț ẅě ẅįŀŀ șțǿřě ǻș țħě
                                                                                               50           // reset oneTouch status
    ųșěř'ș authyId . Țħįș įș věřỳ įmpǿřțǻňț                                                    51           if($this‐>authy_status != 'unverified') {
                                                                                               52             $this‐>authy_status = 'unverified';
    șįňčě įț'ș ħǿẅ ẅě ẅįŀŀ věřįfỳ țħě įđěňțįțỳ ǿf                                              53             $this‐>save();
    ǿųř Ųșěř ẅįțħ Ǻųțħỳ.                                                                       54           }
                                                                                               55           debug($this‐>authy_status);
                                                                                               56
    Șěě Ǻŀșǿ:                                                                                  57             $params = array(
                                                                                               58               'api_key'=>getenv('AUTHY_TOKEN'),
                                                                                               59               'message'=>$message,
         Ěňǻbŀįňģ ǻ Ųșěř ẅįțħ Ǻųțħỳ
                                                                                               60               'details[Email]'=>$this‐>email,
                                                                                               61             );
         Ģěțțįňģ șțǻřțěđ ẅįțħ Ěŀǿqųěňț ǾŘM
                                                                                               62
                                                                                               63




   ČǾMPǺŇỲ                                                               PŘǾĐŲČŤȘ                                   PŘİČİŇĢ                             ŲȘĚ   ČǺȘĚȘ                    ǺPİ    &   ĐǾČȘ




   Ǻbǿųț Țẅįŀįǿ                                                          Přǿģřǻmmǻbŀě Vǿįčě                         Vǿįčě Přįčįňģ                       Čųșțǿměř Șțǿřįěș               Qųįčķșțǻřțș

   Ǿųř Ňįňě Vǻŀųěș                                                       Ěŀǻșțįč ȘİP Țřųňķįňģ                       Měșșǻģįňģ Přįčįňģ                   Șħǿẅčǻșě                       Țųțǿřįǻŀș




https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#2                                                                                                                                         1/2
                                                                                                                       Ex. 22, p. 210
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                                 Twilio Docs:             1-22 Filed
                                              Two­Factor Authentication         03/28/16
                                                                        with Authy               Page 9 of 27
                                                                                   with PHP and Laravel                                       Page ID
                                                                                    #:233
   Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș             Přǿģřǻmmǻbŀě Vįđěǿ              ȘİP Țřųňķįňģ Přįčįňģ        Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň   ǺPİ Řěfěřěňčě

   Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș       Ħěŀpěř Ŀįbřǻřįěș


   Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș      Bŀǿģ

   Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș                  Ħěŀp


   Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș

                                         Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș

                                         Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                         Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ

                                         Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                     Ẅħįțě Pǻpěřș




   İŇQŲİŘİĚȘ




   Čǿňțǻčț Přěșș                Șųppǿřț

   Přěșș                        Șțǻțųș     Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ    Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#2                                                               2/2
                                                                            Ex. 22, p. 211
3/27/2016           Case 2:16-cv-02106-PSG-SS       Document
                                          Twilio Docs:              1-22 with
                                                       Two­Factor Authentication Filed  03/28/16
                                                                                    Authy                Page 10 of 27 Page
                                                                                          with PHP and Laravel
                                                                ID #:234

                                                                   PŘǾĐŲČŤȘ         &   PŘİČİŇĢ             ŲȘĚ   ČǺȘĚȘ           ǺPİ    &   ĐǾČȘ          ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                   ȘİĢŇ    ŲP       ĿǾĢ   İŇ




  țẅįŀįǿ
    ŤẄİĿİǾ           ĐǾČȘ
                                                                                                                                              Qųįčķșțǻřț         Țųțǿřįǻŀș        ǺPİ Řěfěřěňčě            Ħěŀpěř Ŀįbřǻřįěș




                                                                                                                                         Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
    țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                                 ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                         ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
    pħp | ŀǻřǻvěŀ                                            MǾŘĚ             ĿǺŇĢŲǺĢĚȘ           ĢĚŤ   ŤĦĚ   ČǾĐĚ                       pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ...




                                                                                                                       PĦP Țųțǿřįǻŀ
                                                                                                                                                                                                       Vįěẅ Fųŀŀ Șčřěěň 
                                                                                            / ǻpp / Ħțțp / Čǿňțřǿŀŀěřș / Ǻųțħ / ǺųțħČǿňțřǿŀŀěř.pħp                                                                       
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ


                                                                                             40             $this‐>middleware('guest', ['except' => 'getLogout']);
                                                                 Ňěxț: Șěňđįňģ țħě          41         }
                                                                ǾňěȚǿųčħ Řěqųěșț           42
                                                                                             43         public function postLogin(Request $request) {
    ĿǾĢĢİŇĢ               İŇ   ẄİŤĦ        ǺŲŤĦỲ            ǾŇĚŤǾŲČĦ
                                                                                             44           $credentials = $request‐>only('email','password');
                                                                                             45           if(Auth::validate($credentials)) {
                                                                                             46             $user = User::where('email', '=', $request‐>input('email'))‐>firstOrFail();
    Ẅħěň ǻ Ųșěř ǻțțěmpțș țǿ ŀǿģ įň țǿ ǿųř
                                                                                             47             $status = $user‐>sendOneTouch('Request to Login to Twilio demo app');
    ẅěbșįțě, ẅě ẅįŀŀ ǻșķ țħěm fǿř ǻ șěčǿňđ                                                   48             Session::set('password_validated', true);
                                                                                             49             Session::set('id', $user‐>id);
    fǿřm ǿf įđěňțįfįčǻțįǿň. Ŀěț'ș țǻķě ǻ ŀǿǿķ ǻț
                                                                                             50             return response($status);
    Ǻųțħỳ'ș ǾňěȚǿųčħ věřįfįčǻțįǿň fįřșț.                                                     51           } else {
                                                                                             52               return redirect('/auth/login')‐>withErrors([
                                                                                             53                   'email' => 'The email and password combination you entered is incorrect.',
                                                                                             54               ]);
                                                                                             55           }
                                                                                             56         }
                                                                                             57
                                                                                             58         public function getTwofactor() {
                                                                                             59           return view('auth/twofactor');
                                                                                             60         }
                                                                                             61
                                                                                             62         public function postTwofactor(Request $request) {
                                                                                             63           if(!Session::get('password_validated') || !Session::get('id')) {
    ǾňěȚǿųčħ ẅǿřķș ŀįķě șǿ:                                                                  64             return redirect('/auth/login');
                                                                                             65           }
         Ẅě ǻțțěmpț țǿ șěňđ ǻ Ųșěř ǻ                                                         66
                                                                                             67             if(isset($_POST['token'])) {
         ǾňěȚǿųčħ Ǻppřǿvǻŀ Řěqųěșț                                                                           $user = User::find(Session::get('id'));
                                                                                             68
                                                                                             69              if($user‐>verifyToken($request‐>input('token'))) {
         İf țħě Ųșěř ħǻș ǾňěȚǿųčħ ěňǻbŀěđ, ẅě ẅįŀŀ                                                             Auth::login($user);
                                                                                             70
         ģěț ǻ success měșșǻģě bǻčķ                                                          71                return redirect()‐>intended('/home');




    ČǾMPǺŇỲ                                                               PŘǾĐŲČŤȘ                                PŘİČİŇĢ                            ŲȘĚ    ČǺȘĚȘ                     ǺPİ   &   ĐǾČȘ




    Ǻbǿųț Țẅįŀįǿ                                                          Přǿģřǻmmǻbŀě Vǿįčě                      Vǿįčě Přįčįňģ                      Čųșțǿměř Șțǿřįěș                 Qųįčķșțǻřțș


    Ǿųř Ňįňě Vǻŀųěș                                                       Ěŀǻșțįč ȘİP Țřųňķįňģ                    Měșșǻģįňģ Přįčįňģ                  Șħǿẅčǻșě                         Țųțǿřįǻŀș


    Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș                                             Přǿģřǻmmǻbŀě Vįđěǿ                      ȘİP Țřųňķįňģ Přįčįňģ               Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň        ǺPİ Řěfěřěňčě


https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#3                                                                                                                                     1/2
                                                                                                                     Ex. 22, p. 212
3/27/2016     Case 2:16-cv-02106-PSG-SS       Document
                                    Twilio Docs:              1-22 with
                                                 Two­Factor Authentication Filed  03/28/16
                                                                              Authy                Page 11 of 27 Page
                                                                                    with PHP and Laravel
                                                          ID #:235
    Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș    Ħěŀpěř Ŀįbřǻřįěș


    Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș   Bŀǿģ


    Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș               Ħěŀp


    Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                          Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș


                                          Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                          Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ


                                          Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                      Ẅħįțě Pǻpěřș




    İŇQŲİŘİĚȘ




    Čǿňțǻčț Přěșș                Șųppǿřț

    Přěșș                        Șțǻțųș     Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ    Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#3                                                         2/2
                                                                             Ex. 22, p. 213
3/27/2016           Case 2:16-cv-02106-PSG-SS       Document
                                          Twilio Docs:              1-22 with
                                                       Two­Factor Authentication Filed  03/28/16
                                                                                    Authy                Page 12 of 27 Page
                                                                                          with PHP and Laravel
                                                                ID #:236

                                                                   PŘǾĐŲČŤȘ         &   PŘİČİŇĢ           ŲȘĚ   ČǺȘĚȘ           ǺPİ    &   ĐǾČȘ          ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                   ȘİĢŇ    ŲP       ĿǾĢ   İŇ




  țẅįŀįǿ
    ŤẄİĿİǾ           ĐǾČȘ
                                                                                                                                            Qųįčķșțǻřț         Țųțǿřįǻŀș        ǺPİ Řěfěřěňčě            Ħěŀpěř Ŀįbřǻřįěș




                                                                                                                                       Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
    țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                               ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                       ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
    pħp | ŀǻřǻvěŀ                                            MǾŘĚ             ĿǺŇĢŲǺĢĚȘ           ĢĚŤ   ŤĦĚ   ČǾĐĚ                     pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ...




                                                                                                                      PĦP Țųțǿřįǻŀ
                                                                                                                                                                                                     Vįěẅ Fųŀŀ Șčřěěň 
                                                                                            / ǻpp / Ųșěř.pħp                                                                                                           
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ


                                                       46       }
                               Ňěxț: Čǿňfįģųřįňģ țħě  47     }
                          ǾňěȚǿųčħ čǻŀŀbǻčķ          48
                                                       49     public function sendOneTouch($message) {
    ȘĚŇĐİŇĢ               ŤĦĚ     ǾŇĚŤǾŲČĦ
                                                       50       // reset oneTouch status
                                                            ŘĚQŲĚȘŤ

                                                       51       if($this‐>authy_status != 'unverified') {
                                                       52          $this‐>authy_status = 'unverified';
    Ẅħěň ǿųř Ųșěř ŀǿģș įň ẅě įmměđįǻțěŀỳ
                                                       53          $this‐>save();
    ǻțțěmpț țǿ věřįfỳ țħěįř įđěňțįțỳ ẅįțħ              54       }
                                                       55       debug($this‐>authy_status);
    ǾňěȚǿųčħ. Ẅě ẅįŀŀ fǻŀŀbǻčķ ģřǻčěfųŀŀỳ įf
                                                       56
    țħěỳ đǿň'ț ħǻvě ǻ ǾňěȚǿųčħ đěvįčě, bųț ẅě          57       $params = array(
    đǿň'ț ķňǿẅ ųňțįŀ ẅě țřỳ.                           58          'api_key'=>getenv('AUTHY_TOKEN'),
                                                       59          'message'=>$message,
                                                       60          'details[Email]'=>$this‐>email,
    Ǻųțħỳ ŀěțș ųș pǻșș đěțǻįŀș ẅįțħ ǿųř                61       );
    ǾňěȚǿųčħ řěqųěșț, įňčŀųđįňģ ǻ měșșǻģě, ǻ           62
                                                       63       $defaults = array(
    ŀǿģǿ ǻňđ ǻňỳ ǿțħěř đěțǻįŀș ẅě ẅǻňț țǿ                          CURLOPT_URL => "https://api.authy.com/onetouch/json/users/$this‐>authy_id/approval_requests"
                                                       64
    șěňđ. Ẅě čǿųŀđ ěǻșįŀỳ șěňđ ǻňỳ ňųmběř ǿf           65         CURLOPT_POST => true,
                                                       66         CURLOPT_POSTFIELDS => $params,
    đěțǻįŀș bỳ ǻppěňđįňģ
                                                       67       );
     details['some_detail'] . Ỳǿų čǿųŀđ                68
                                                       69       $ch = curl_init();
    įmǻģįňě ǻ șčěňǻřįǿ ẅħěřě ẅě șěňđ ǻ                          curl_setopt_array($ch, $defaults);
                                                       70
    ǾňěȚǿųčħ řěqųěșț țǿ ǻppřǿvě ǻ mǿňěỳ                71       $output = curl_exec($ch);
                                                       72       curl_close($ch);
    țřǻňșfěř:                                                   $json = json_decode($output);
                                                       73
                                                       74
     $params = array(                                  75       return $json;
                                                       76
       'message' => "Request to send money to Jarod's vault", }
       'details[From]' => "Jarod",                     77




    ČǾMPǺŇỲ                                                               PŘǾĐŲČŤȘ                              PŘİČİŇĢ                            ŲȘĚ    ČǺȘĚȘ                     ǺPİ   &   ĐǾČȘ




    Ǻbǿųț Țẅįŀįǿ                                                          Přǿģřǻmmǻbŀě Vǿįčě                    Vǿįčě Přįčįňģ                      Čųșțǿměř Șțǿřįěș                 Qųįčķșțǻřțș


    Ǿųř Ňįňě Vǻŀųěș                                                       Ěŀǻșțįč ȘİP Țřųňķįňģ                  Měșșǻģįňģ Přįčįňģ                  Șħǿẅčǻșě                         Țųțǿřįǻŀș


    Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș                                             Přǿģřǻmmǻbŀě Vįđěǿ                    ȘİP Țřųňķįňģ Přįčįňģ               Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň        ǺPİ Řěfěřěňčě


https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#4                                                                                                                                   1/2
                                                                                                                     Ex. 22, p. 214
3/27/2016     Case 2:16-cv-02106-PSG-SS       Document
                                    Twilio Docs:              1-22 with
                                                 Two­Factor Authentication Filed  03/28/16
                                                                              Authy                Page 13 of 27 Page
                                                                                    with PHP and Laravel
                                                          ID #:237
    Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș    Ħěŀpěř Ŀįbřǻřįěș


    Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș   Bŀǿģ


    Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș               Ħěŀp


    Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                          Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș


                                          Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                          Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ


                                          Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                      Ẅħįțě Pǻpěřș




    İŇQŲİŘİĚȘ




    Čǿňțǻčț Přěșș                Șųppǿřț

    Přěșș                        Șțǻțųș     Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ    Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#4                                                         2/2
                                                                             Ex. 22, p. 215
3/27/2016           Case 2:16-cv-02106-PSG-SS       Document
                                          Twilio Docs:              1-22 with
                                                       Two­Factor Authentication Filed  03/28/16
                                                                                    Authy                Page 14 of 27 Page
                                                                                          with PHP and Laravel
                                                                ID #:238

                                                                   PŘǾĐŲČŤȘ         &    PŘİČİŇĢ           ŲȘĚ   ČǺȘĚȘ           ǺPİ    &   ĐǾČȘ          ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                   ȘİĢŇ    ŲP       ĿǾĢ   İŇ




  țẅįŀįǿ
    ŤẄİĿİǾ           ĐǾČȘ
                                                                                                                                             Qųįčķșțǻřț         Țųțǿřįǻŀș        ǺPİ Řěfěřěňčě            Ħěŀpěř Ŀįbřǻřįěș




                                                                                                                                        Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
    țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                                ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                        ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
    pħp | ŀǻřǻvěŀ                                            MǾŘĚ             ĿǺŇĢŲǺĢĚȘ            ĢĚŤ   ŤĦĚ   ČǾĐĚ                     pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ...




                                                                                                                       PĦP Țųțǿřįǻŀ
                                                                                                                                                                                                      Vįěẅ Fųŀŀ Șčřěěň 
                                                                                             / ǻpp / Ħțțp / Čǿňțřǿŀŀěřș / Ǻųțħ / ǺųțħỳČǿňțřǿŀŀěř.pħp                                      
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ

                                                                                              33       /**
                                                                 Ňěxț: Ħǻňđŀįňģ Țẅǿ-
                                                                                              34         * Show the application welcome screen to the user.
                                                                Fǻčțǿř Ǻșỳňčřǿňǿųșŀỳ        35         *
                                                                                              36         * @return Response
                                                                                              37         */
    ČǾŇFİĢŲŘİŇĢ                    ŤĦĚ       ǾŇĚŤǾŲČĦ                  ČǺĿĿBǺČĶ
                                                                                              38
                                                                                              39       // Public webhook for Authy
    İň ǿřđěř fǿř ǿųř ǻpp țǿ ķňǿẅ ẅħǻț țħě Ųșěř                                                40       public function callback(Request $request) {
    đįđ ǻfțěř ẅě șěňț țħě ǾňěȚǿųčħ řěqųěșț,                                                   41            $authy_id = $request‐>input('authy_id');
                                                                                              42            $user = User::where('authy_id', '=', $authy_id)‐>firstOrFail();
    ẅě ňěěđ țǿ řěģįșțěř ǻ čǻŀŀbǻčķ ěňđpǿįňț                                                                 if(isset($user)) {
                                                                                              43
    ẅįțħ Ǻųțħỳ.                                                                               44              $user‐>authy_status = $request‐>input('status');
                                                                                              45              $user‐>save();
                                                                                              46              return "ok";
                                                                                              47            } else {
                                                                                              48              return "invalid";
                                                                                              49            }
                                                                                              50     }
                                                                                              51
                                                                                              52       // Check status of user
                                                                                              53       public function status(Request $request) {
                                                                                              54       $user = User::find(Session::get('id'));
                                                                                              55       $status = $user‐>authy_status;
                                                                                              56       if($status == 'approved') {
                                                                                              57          Auth::login($user);
                                                                                              58       }
    Ħěřě įň ǿųř čǻŀŀbǻčķ, ẅě ŀǿǿķ ųp țħě ųșěř                                                 59       return response()‐>json(['status' => $status, 'response' => Session::get('request')])
                                                                                              60     }
    ųșįňģ țħě authy_id șěňț ẅįțħ țħě Ǻųțħỳ
                                                                                              61
    PǾȘȚ řěqųěșț. İđěǻŀŀỳ ǻț țħįș pǿįňț ẅě                                                    62 }
    ẅǿųŀđ přǿbǻbŀỳ ųșě ǻ ẅěbșǿčķěț țǿ ŀěț ǿųř




    ČǾMPǺŇỲ                                                               PŘǾĐŲČŤȘ                               PŘİČİŇĢ                            ŲȘĚ    ČǺȘĚȘ                     ǺPİ   &   ĐǾČȘ




    Ǻbǿųț Țẅįŀįǿ                                                          Přǿģřǻmmǻbŀě Vǿįčě                     Vǿįčě Přįčįňģ                      Čųșțǿměř Șțǿřįěș                 Qųįčķșțǻřțș


    Ǿųř Ňįňě Vǻŀųěș                                                       Ěŀǻșțįč ȘİP Țřųňķįňģ                   Měșșǻģįňģ Přįčįňģ                  Șħǿẅčǻșě                         Țųțǿřįǻŀș


    Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș                                             Přǿģřǻmmǻbŀě Vįđěǿ                     ȘİP Țřųňķįňģ Přįčįňģ               Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň        ǺPİ Řěfěřěňčě


https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#5                                                                                                                                    1/2
                                                                                                                      Ex. 22, p. 216
3/27/2016     Case 2:16-cv-02106-PSG-SS       Document
                                    Twilio Docs:              1-22 with
                                                 Two­Factor Authentication Filed  03/28/16
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                                                                                    with PHP and Laravel
                                                          ID #:239
    Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș    Ħěŀpěř Ŀįbřǻřįěș


    Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș   Bŀǿģ


    Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș               Ħěŀp


    Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                          Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș


                                          Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                          Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ


                                          Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                      Ẅħįțě Pǻpěřș




    İŇQŲİŘİĚȘ




    Čǿňțǻčț Přěșș                Șųppǿřț

    Přěșș                        Șțǻțųș     Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ    Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#5                                                         2/2
                                                                             Ex. 22, p. 217
3/27/2016           Case 2:16-cv-02106-PSG-SS       Document
                                          Twilio Docs:              1-22 with
                                                       Two­Factor Authentication Filed  03/28/16
                                                                                    Authy                Page 16 of 27 Page
                                                                                          with PHP and Laravel
                                                                ID #:240

                                                                   PŘǾĐŲČŤȘ          &    PŘİČİŇĢ           ŲȘĚ   ČǺȘĚȘ           ǺPİ    &   ĐǾČȘ          ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                   ȘİĢŇ    ŲP       ĿǾĢ   İŇ




  țẅįŀįǿ
    ŤẄİĿİǾ           ĐǾČȘ
                                                                                                                                              Qųįčķșțǻřț         Țųțǿřįǻŀș        ǺPİ Řěfěřěňčě            Ħěŀpěř Ŀįbřǻřįěș




                                                                                                                                         Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
    țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                                 ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                         ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
    pħp | ŀǻřǻvěŀ                                            MǾŘĚ             ĿǺŇĢŲǺĢĚȘ             ĢĚŤ   ŤĦĚ   ČǾĐĚ                     pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ...




                                                                                                                        PĦP Țųțǿřįǻŀ
                                                                                                                                                                                                       Vįěẅ Fųŀŀ Șčřěěň 
                                                                                              / pųbŀįč / jș / șěșșįǿňș.jș                                                                                                
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ


                                                                                                1    $(document).ready(function() {
                                                                 Ňěxț: Fǻŀŀįňģ bǻčķ țǿ         2      console.log('loaded');
                                                                Țǿķěň                         3      $('#login‐form').submit(function(e) {
                                                                                                4        e.preventDefault();
    ĦǺŇĐĿİŇĢ               ŤẄǾ-FǺČŤǾŘ                     ǺȘỲŇČŘǾŇǾŲȘĿỲ
                                                                                                5        formData = $(e.currentTarget).serialize();
                                                                                                6        attemptOneTouchVerification(formData);
                                                                                                7      })
    İň ǿřđěř fǿř țẅǿ-fǻčțǿř ǻųțħěňțįčǻțįǿň țǿ bě
                                                                                                8
    șěǻmŀěșș, įț įș běșț đǿňě ǻșỳňčħřǿňǿųșŀỳ                                                    9         var attemptOneTouchVerification = function(form) {
    șǿ țħǻț țħě ųșěř đǿěșň'ț ěvěň ķňǿẅ įț'ș                                                    10            $.post( "/auth/login", form, function(data) {
                                                                                               11              var data = JSON.parse(data.replace(/1/g, ""));
    ħǻppěňįňģ.                                                                                 12              $('#authy‐modal').modal({backdrop:'static'},'show');
                                                                                               13              if (data.success) {
    Ẅě'vě ǻŀřěǻđỳ țǻķěň ǻ ŀǿǿķ ǻț ẅħǻț'ș                                                       14                $('.auth‐ot').fadeIn()
                                                                                               15                checkForOneTouch();
    ħǻppěňįňģ ǿň țħě șěřvěř șįđě, șǿ ŀěț'ș șțěp                                                16              } else {
    įň fřǿňț ǿf țħě čǻměřǻș ňǿẅ ǻňđ șěě ħǿẅ                                                    17                $('.auth‐token').fadeIn()
                                                                                               18              }
    ǿųř JǻvǻȘčřįpț įș įňțěřǻčțįňģ ẅįțħ țħǿșě                                                                });
                                                                                               19
    șěřvěř ěňđpǿįňțș.                                                                          20         };
                                                                                               21
    Fįřșț ẅě ħįjǻčķ țħě ŀǿģįň fǿřm șųbmįț ǻňđ                                                  22         var checkForOneTouch = function() {
                                                                                               23           $.get( "/authy/status", function(data) {
    pǻșș țħě đǻțǻ țǿ ǿųř sessions/create                                                       24
                                                                                               25               if (data.status == 'approved') {
    čǿňțřǿŀŀěř ųșįňģ Ǻjǻx. Đěpěňđįňģ ǿň ħǿẅ
                                                                                               26                 window.location.href = "/home";
    țħǻț ěňđpǿįňț řěșpǿňđș ẅě ẅįŀŀ ěįțħěř ǻșķ                                                  27               } else if (data.status == 'denied') {
                                                                                               28                 showTokenForm();
    țħě Ųșěř fǿř țǿķěň ǿř ǻẅǻįț țħěįř ǾňěȚǿųčħ
                                                                                               29                 triggerSMSToken();
    řěșpǿňșě.                                                                                  30               } else {
                                                                                               31                 setTimeout(checkForOneTouch, 2000);
    İf ẅě ěxpěčț ǻ ǾňěȚǿųčħ řěșpǿňșě, ẅě ẅįŀŀ                                                  32               }




    ČǾMPǺŇỲ                                                               PŘǾĐŲČŤȘ                                PŘİČİŇĢ                            ŲȘĚ    ČǺȘĚȘ                     ǺPİ   &   ĐǾČȘ




    Ǻbǿųț Țẅįŀįǿ                                                          Přǿģřǻmmǻbŀě Vǿįčě                      Vǿįčě Přįčįňģ                      Čųșțǿměř Șțǿřįěș                 Qųįčķșțǻřțș


    Ǿųř Ňįňě Vǻŀųěș                                                       Ěŀǻșțįč ȘİP Țřųňķįňģ                    Měșșǻģįňģ Přįčįňģ                  Șħǿẅčǻșě                         Țųțǿřįǻŀș


    Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș                                             Přǿģřǻmmǻbŀě Vįđěǿ                      ȘİP Țřųňķįňģ Přįčįňģ               Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň        ǺPİ Řěfěřěňčě


https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#6                                                                                                                                     1/2
                                                                                                                       Ex. 22, p. 218
3/27/2016     Case 2:16-cv-02106-PSG-SS       Document
                                    Twilio Docs:              1-22 with
                                                 Two­Factor Authentication Filed  03/28/16
                                                                              Authy                Page 17 of 27 Page
                                                                                    with PHP and Laravel
                                                          ID #:241
    Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș    Ħěŀpěř Ŀįbřǻřįěș


    Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș   Bŀǿģ


    Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș               Ħěŀp


    Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                          Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș


                                          Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                          Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ


                                          Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                      Ẅħįțě Pǻpěřș




    İŇQŲİŘİĚȘ




    Čǿňțǻčț Přěșș                Șųppǿřț

    Přěșș                        Șțǻțųș     Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ    Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#6                                                         2/2
                                                                             Ex. 22, p. 219
3/27/2016           Case 2:16-cv-02106-PSG-SS       Document
                                          Twilio Docs:              1-22 with
                                                       Two­Factor Authentication Filed  03/28/16
                                                                                    Authy                Page 18 of 27 Page
                                                                                          with PHP and Laravel
                                                                ID #:242

                                                                   PŘǾĐŲČŤȘ         &   PŘİČİŇĢ           ŲȘĚ   ČǺȘĚȘ           ǺPİ    &   ĐǾČȘ          ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                   ȘİĢŇ    ŲP       ĿǾĢ   İŇ




  țẅįŀįǿ
    ŤẄİĿİǾ           ĐǾČȘ
                                                                                                                                            Qųįčķșțǻřț         Țųțǿřįǻŀș        ǺPİ Řěfěřěňčě            Ħěŀpěř Ŀįbřǻřįěș




                                                                                                                                       Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
    țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                               ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                       ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
    pħp | ŀǻřǻvěŀ                                            MǾŘĚ             ĿǺŇĢŲǺĢĚȘ           ĢĚŤ   ŤĦĚ   ČǾĐĚ                     pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ...




                                                                                                                      PĦP Țųțǿřįǻŀ
                                                                                                                                                                                                     Vįěẅ Fųŀŀ Șčřěěň 
                                                                                            / ǻpp / Ħțțp / Čǿňțřǿŀŀěřș / Ǻųțħ / ǺųțħỳČǿňțřǿŀŀěř.pħp                                      
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ

                                                                                             33       /**
                                                                 Ňěxț: Șěňđįňģ ǻ 2FǺ
                                                                                             34         * Show the application welcome screen to the user.
                                                                Țǿķěň                      35         *
                                                                                             36         * @return Response
                                                                                             37         */
    FǺĿĿİŇĢ           BǺČĶ          ŤǾ     ŤǾĶĚŇ
                                                                                             38
                                                                                             39       // Public webhook for Authy
    Ħěřě įș țħě ěňđpǿįňț țħǻț ǿųř jǻvǻșčřįpț įș                                              40       public function callback(Request $request) {
    pǿŀŀįňģ. İț įș ẅǻįțįňģ fǿř țħě ųșěř șțǻțųș țǿ bě                                         41            $authy_id = $request‐>input('authy_id');
                                                                                             42            $user = User::where('authy_id', '=', $authy_id)‐>firstOrFail();
    ěįțħěř 'Ǻppřǿvěđ' ǿř 'Đěňįěđ'. İf țħě Ųșěř ħǻș                                                         if(isset($user)) {
                                                                                             43
    ǻppřǿvěđ țħě ǾňěȚǿųčħ řěqųěșț, ẅįŀŀ ŀǿģ                                                  44              $user‐>authy_status = $request‐>input('status');
                                                                                             45              $user‐>save();
    țħěm įň ųșįňģ Ŀǻřǻvěŀ'ș bųįŀț įň Auth                                                                    return "ok";
                                                                                             46
    fųňčțįǿňǻŀįțỳ.                                                                           47            } else {
                                                                                             48              return "invalid";
                                                                                             49            }
    İf țħě řěqųěșț ẅǻș đěňįěđ ẅě ẅįŀŀ ǻșķ țħě
                                                                                             50     }
    Ųșěř țǿ ŀǿģ įň ẅįțħ ǻ Țǿķěň.                                                             51
                                                                                             52       // Check status of user
                                                                                             53       public function status(Request $request) {
    Șěě Ǻŀșǿ:                                                                                54       $user = User::find(Session::get('id'));
                                                                                             55       $status = $user‐>authy_status;
         Ŀǻřǻvěŀ: JȘǾŇ Řěșpǿňșěș                                                             56       if($status == 'approved') {
                                                                                             57          Auth::login($user);
                                                                                             58       }
                                                                                             59       return response()‐>json(['status' => $status, 'response' => Session::get('request')])
                                                                                             60     }
                                                                                             61
                                                                                             62 }




    ČǾMPǺŇỲ                                                               PŘǾĐŲČŤȘ                              PŘİČİŇĢ                            ŲȘĚ    ČǺȘĚȘ                     ǺPİ   &   ĐǾČȘ




    Ǻbǿųț Țẅįŀįǿ                                                          Přǿģřǻmmǻbŀě Vǿįčě                    Vǿįčě Přįčįňģ                      Čųșțǿměř Șțǿřįěș                 Qųįčķșțǻřțș


    Ǿųř Ňįňě Vǻŀųěș                                                       Ěŀǻșțįč ȘİP Țřųňķįňģ                  Měșșǻģįňģ Přįčįňģ                  Șħǿẅčǻșě                         Țųțǿřįǻŀș


    Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș                                             Přǿģřǻmmǻbŀě Vįđěǿ                    ȘİP Țřųňķįňģ Přįčįňģ               Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň        ǺPİ Řěfěřěňčě


https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#7                                                                                                                                   1/2
                                                                                                                     Ex. 22, p. 220
3/27/2016     Case 2:16-cv-02106-PSG-SS       Document
                                    Twilio Docs:              1-22 with
                                                 Two­Factor Authentication Filed  03/28/16
                                                                              Authy                Page 19 of 27 Page
                                                                                    with PHP and Laravel
                                                          ID #:243
    Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș    Ħěŀpěř Ŀįbřǻřįěș


    Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș   Bŀǿģ


    Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș               Ħěŀp


    Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                          Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș


                                          Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                          Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ


                                          Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                      Ẅħįțě Pǻpěřș




    İŇQŲİŘİĚȘ




    Čǿňțǻčț Přěșș                Șųppǿřț

    Přěșș                        Șțǻțųș     Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ    Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#7                                                         2/2
                                                                             Ex. 22, p. 221
3/21/2016           Case 2:16-cv-02106-PSG-SS       Document
                                          Twilio Docs:              1-22 with
                                                       Two­Factor Authentication Filed  03/28/16
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                                                                                          with PHP and Laravel
                                                                ID #:244

                                                                   PŘǾĐŲČŤȘ         &   PŘİČİŇĢ           ŲȘĚ   ČǺȘĚȘ           ǺPİ    &   ĐǾČȘ          ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                   ȘİĢŇ    ŲP       ĿǾĢ   İŇ




  țẅįŀįǿ
    ŤẄİĿİǾ           ĐǾČȘ
                                                                                                                                            Qųįčķșțǻřț         Țųțǿřįǻŀș        ǺPİ Řěfěřěňčě            Ħěŀpěř Ŀįbřǻřįěș




                                                                                                                                       Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
    țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                               ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                       ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
    pħp | ŀǻřǻvěŀ                                            MǾŘĚ             ĿǺŇĢŲǺĢĚȘ           ĢĚŤ   ŤĦĚ   ČǾĐĚ                     pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ...




                                                                                                                      PĦP Țųțǿřįǻŀ
                                                                                                                                                                                                     Vįěẅ Fųŀŀ Șčřěěň 
                                                                                             / ǻpp / Ųșěř.pħp                                                                                                          
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ

                                                                                              66          CURLOPT_POSTFIELDS => $params,
                                                                 Ňěxț: Vǻŀįđǻțě țħě Čǿđě:
                                                                                              67       );
                                                                Șțěp 1                      68
                                                                                              69       $ch = curl_init();
                                                                                              70       curl_setopt_array($ch, $defaults);
    ȘĚŇĐİŇĢ               Ǻ   2FǺ     ŤǾĶĚŇ
                                                                                              71       $output = curl_exec($ch);
                                                                                              72       curl_close($ch);
                                                                                              73       $json = json_decode($output);
                                                                                              74
                                                                                              75       return $json;
                                                                                              76     }
                                                                                              77
                                                                                              78     public function sendToken() {
                                                                                              79       $authy_api = new AuthyApi(getenv('AUTHY_TOKEN'));
    Ǿňčě țħěřě įș ǻň Ǻųțħỳ ųșěř İĐ ǻșșǿčįǻțěđ                                                 80       $sms = $authy_api‐>requestSms($this‐>authy_id);
                                                                                              81
    ẅįțħ ǿųř ųșěř mǿđěŀ, ẅě čǻň řěqųěșț țħǻț                                                  82       return $sms‐>ok();
    ǻň ȘMȘ věřįfįčǻțįǿň țǿķěň bě șěňț ǿųț țǿ                                                  83     }
                                                                                              84
    țħě ųșěř'ș pħǿňě. Ǻųțħỳ șųppǿřțș țǿķěň                                                    85     public function verifyToken($token) {
    vǻŀįđǻțįǿň įň țħěįř mǿbįŀě ǻpp ǻș ẅěŀŀ, șǿ įf                                             86       $authy_api = new AuthyApi(getenv('AUTHY_TOKEN'));
                                                                                              87       $verification = $authy_api‐>verifyToken($this‐>authy_id, $token);
    ǿųř ųșěř ħǻș țħě ǻpp įț ẅįŀŀ đěfǻųŀț țǿ                                                   88
    șěňđįňģ ǻ pųșħ ňǿțįfįčǻțįǿň įňșțěǻđ ǿf ǻň                                                 89       if($verification‐>ok()) {
                                                                                              90          return true;
    ȘMȘ.                                                                                      91       } else {
                                                                                              92          return false;
    Ẅě čǻň čǻŀŀ țħįș měțħǿđ ǿň țħě ųșěř                                                       93       }
                                                                                              94     }
    įňșțǻňčě mųŀțįpŀě țįměș įf ňěěđěđ, ẅħįčħ įș
                                                                                              95 }
    ẅħǻț ħǻppěňș ěvěřỳ țįmě țħě ųșěř čŀįčķș
    "Řěșěňđ Čǿđě" ǿň țħě ẅěb fǿřm ẅě ǻřě




    ČǾMPǺŇỲ                                                               PŘǾĐŲČŤȘ                              PŘİČİŇĢ                            ŲȘĚ    ČǺȘĚȘ                     ǺPİ   &   ĐǾČȘ




    Ǻbǿųț Țẅįŀįǿ                                                          Přǿģřǻmmǻbŀě Vǿįčě                    Vǿįčě Přįčįňģ                      Čųșțǿměř Șțǿřįěș                 Qųįčķșțǻřțș


    Ǿųř Ňįňě Vǻŀųěș                                                       Ěŀǻșțįč ȘİP Țřųňķįňģ                  Měșșǻģįňģ Přįčįňģ                  Șħǿẅčǻșě                         Țųțǿřįǻŀș


    Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș                                             Přǿģřǻmmǻbŀě Vįđěǿ                    ȘİP Țřųňķįňģ Přįčįňģ               Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň        ǺPİ Řěfěřěňčě


https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#8                                                                                                                                   1/2
                                                                                                                     Ex. 22, p. 222
3/21/2016     Case 2:16-cv-02106-PSG-SS       Document
                                    Twilio Docs:              1-22 with
                                                 Two­Factor Authentication Filed  03/28/16
                                                                              Authy                Page 21 of 27 Page
                                                                                    with PHP and Laravel
                                                          ID #:245
    Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș    Ħěŀpěř Ŀįbřǻřįěș


    Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș   Bŀǿģ


    Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș               Ħěŀp


    Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                          Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș


                                          Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                          Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ


                                          Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                      Ẅħįțě Pǻpěřș




    İŇQŲİŘİĚȘ




    Čǿňțǻčț Přěșș                Șųppǿřț

    Přěșș                        Șțǻțųș     Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ    Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#8                                                         2/2
                                                                             Ex. 22, p. 223
3/27/2016           Case 2:16-cv-02106-PSG-SS       Document
                                          Twilio Docs:              1-22 with
                                                       Two­Factor Authentication Filed  03/28/16
                                                                                    Authy                Page 22 of 27 Page
                                                                                          with PHP and Laravel
                                                                ID #:246

                                                                   PŘǾĐŲČŤȘ         &   PŘİČİŇĢ              ŲȘĚ   ČǺȘĚȘ           ǺPİ    &   ĐǾČȘ          ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                   ȘİĢŇ    ŲP       ĿǾĢ   İŇ




  țẅįŀįǿ
    ŤẄİĿİǾ           ĐǾČȘ
                                                                                                                                               Qųįčķșțǻřț         Țųțǿřįǻŀș        ǺPİ Řěfěřěňčě            Ħěŀpěř Ŀįbřǻřįěș




                                                                                                                                          Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
    țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                                  ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                          ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
    pħp | ŀǻřǻvěŀ                                            MǾŘĚ             ĿǺŇĢŲǺĢĚȘ            ĢĚŤ   ŤĦĚ   ČǾĐĚ                       pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ...




                                                                                                                        PĦP Țųțǿřįǻŀ
                                                                                                                                                                                                        Vįěẅ Fųŀŀ Șčřěěň 
                                                                                             / ǻpp / Ħțțp / Čǿňțřǿŀŀěřș / Ǻųțħ / ǺųțħČǿňțřǿŀŀěř.pħp                                                                       
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ


                                                                                              59             return view('auth/twofactor');
                                                                 Ňěxț: Vǻŀįđǻțě țħě Čǿđě:    60         }
                                                                Șțěp 2                      61
                                                                                              62         public function postTwofactor(Request $request) {
    VǺĿİĐǺŤİŇĢ                 ŤĦĚ       ČǾĐĚ           ǾŇ    ŤĦĚ        ČǾŇŤŘǾĿĿĚŘ
                                                                                              63           if(!Session::get('password_validated') || !Session::get('id')) {
                                                                                              64             return redirect('/auth/login');
                                                                                              65           }
                                                                                              66
                                                                                              67             if(isset($_POST['token'])) {
                                                                                              68               $user = User::find(Session::get('id'));
                                                                                              69               if($user‐>verifyToken($request‐>input('token'))) {
                                                                                              70                 Auth::login($user);
                                                                                              71                 return redirect()‐>intended('/home');
                                                                                              72               } else {
    Bǻčķ įň ǿųř čǿňțřǿŀŀěř, ẅě ģřǻb țħě 2ňđ-                                                  73                  return redirect('/auth/twofactor')‐>withErrors([
                                                                                              74                      'token' => 'The token you entered is incorrect',
    fǻčțǿř țǿķěň țħǻț ẅǻș șųbmįțțěđ bỳ țħě ųșěř.                                              75                  ]);
    Běfǿřě ẅě đěčįđě ẅħǻț țǿ đǿ ẅįțħ țħįș țǿķěň                                               76              }
                                                                                              77             }
    ẅě čħěčķ țǿ șěě įf țħě Ųșěř įș pǻřț ǿf ǻ                                                  78         }
    vǻŀįđǻțěđ Session . Ǿňčě ẅě ģěț țħě ǻŀŀ čŀěǻř                                             79
                                                                                              80         public function postRegister(Request $request)
    ẅě țħěň čħěčķ țħǻț țǿķěň bỳ čǻŀŀįňģ                                                       81         {
                                                                                              82           $validator = $this‐>registrar‐>validator($request‐>all());
    verifyToken() ǿň țħě Ųșěř mǿđěŀ.
                                                                                              83           if ($validator‐>fails())
                                                                                              84           {
    Țħįș įș ǻ ģřěǻț ǿppǿřțųňįțỳ țǿ đįvě-įň țǿ țħě                                             85             $this‐>throwValidationException(
    věřįfỳȚǿķěň() fųňčțįǿň.                                                                   86               $request, $validator
                                                                                              87             );
                                                                                              88           }
                                                                                              89           $user = $this‐>registrar‐>create($request‐>all());
                                                                                              90           $user‐>register_authy();




    ČǾMPǺŇỲ                                                               PŘǾĐŲČŤȘ                                 PŘİČİŇĢ                            ŲȘĚ    ČǺȘĚȘ                     ǺPİ   &   ĐǾČȘ




    Ǻbǿųț Țẅįŀįǿ                                                          Přǿģřǻmmǻbŀě Vǿįčě                       Vǿįčě Přįčįňģ                      Čųșțǿměř Șțǿřįěș                 Qųįčķșțǻřțș


    Ǿųř Ňįňě Vǻŀųěș                                                       Ěŀǻșțįč ȘİP Țřųňķįňģ                     Měșșǻģįňģ Přįčįňģ                  Șħǿẅčǻșě                         Țųțǿřįǻŀș


    Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș                                             Přǿģřǻmmǻbŀě Vįđěǿ                       ȘİP Țřųňķįňģ Přįčįňģ               Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň        ǺPİ Řěfěřěňčě


https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#9                                                                                                                                      1/2
                                                                                                                      Ex. 22, p. 224
3/27/2016     Case 2:16-cv-02106-PSG-SS       Document
                                    Twilio Docs:              1-22 with
                                                 Two­Factor Authentication Filed  03/28/16
                                                                              Authy                Page 23 of 27 Page
                                                                                    with PHP and Laravel
                                                          ID #:247
    Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș    Ħěŀpěř Ŀįbřǻřįěș


    Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș   Bŀǿģ


    Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș               Ħěŀp


    Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                          Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș


                                          Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                          Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ


                                          Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                      Ẅħįțě Pǻpěřș




    İŇQŲİŘİĚȘ




    Čǿňțǻčț Přěșș                Șųppǿřț

    Přěșș                        Șțǻțųș     Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ    Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#9                                                         2/2
                                                                             Ex. 22, p. 225
3/27/2016           Case 2:16-cv-02106-PSG-SS       Document
                                          Twilio Docs:              1-22 with
                                                       Two­Factor Authentication Filed  03/28/16
                                                                                    Authy                Page 24 of 27 Page
                                                                                          with PHP and Laravel
                                                                ID #:248

                                                                   PŘǾĐŲČŤȘ         &    PŘİČİŇĢ           ŲȘĚ   ČǺȘĚȘ           ǺPİ    &   ĐǾČȘ          ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                   ȘİĢŇ    ŲP       ĿǾĢ   İŇ




  țẅįŀįǿ
    ŤẄİĿİǾ           ĐǾČȘ
                                                                                                                                             Qųįčķșțǻřț         Țųțǿřįǻŀș        ǺPİ Řěfěřěňčě            Ħěŀpěř Ŀįbřǻřįěș




                                                                                                                                        Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
    țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                                ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                        ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
    pħp | ŀǻřǻvěŀ                                            MǾŘĚ             ĿǺŇĢŲǺĢĚȘ            ĢĚŤ   ŤĦĚ   ČǾĐĚ                     pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ...




                                                                                                                       PĦP Țųțǿřįǻŀ
                                                                                                                                                                                                      Vįěẅ Fųŀŀ Șčřěěň 
                                                                                             / ǻpp / Ųșěř.pħp                                                                                                           
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ

                                                                                              66          CURLOPT_POSTFIELDS => $params,
                                                                                             67       );
                                                                Ňěxț: Ẅħěřě țǿ ňěxț?
                                                                                              68
                                                                                              69       $ch = curl_init();
                                                                                              70       curl_setopt_array($ch, $defaults);
    VǺĿİĐǺŤİŇĢ                 ŤĦĚ       ČǾĐĚ           ẄİŤĦ        ǺŲŤĦỲ
                                                                                              71       $output = curl_exec($ch);
                                                                                              72       curl_close($ch);
                                                                                              73       $json = json_decode($output);
                                                                                              74
                                                                                              75       return $json;
                                                                                              76     }
                                                                                              77
                                                                                              78     public function sendToken() {
                                                                                              79       $authy_api = new AuthyApi(getenv('AUTHY_TOKEN'));
                                                                                              80       $sms = $authy_api‐>requestSms($this‐>authy_id);
    Ǻųțħỳ mǻķěș įț věřỳ șįmpŀě fǿř ųș țǿ
                                                                                              81
    vǻŀįđǻțě țħě čǿđě ǿųř ųșěř șųbmįțțěđ. Ǻŀŀ ẅě                                              82       return $sms‐>ok();
                                                                                              83     }
    ňěěđ țǿ đǿ įș čħěčķ ẅįțħ Ǻųțħỳ țħǻț țħě
                                                                                              84
    čǿđě țħěỳ șěňț ẅǻș țħě șǻmě čǿđě țħěỳ                                                     85     public function verifyToken($token) {
    ěňțěřěđ įň ǿųř fǿřm. Țǿ đǿ țħįș ǿųř Ųșěř                                                  86       $authy_api = new AuthyApi(getenv('AUTHY_TOKEN'));
                                                                                              87       $verification = $authy_api‐>verifyToken($this‐>authy_id, $token);
    mǿđěŀ șįmpŀỳ pǻșșěș įț'ș authy_id ǻňđ țħě                                                 88
                                                                                              89       if($verification‐>ok()) {
    $token țǿ Ǻųțħỳ.
                                                                                              90          return true;
                                                                                              91       } else {
    Ǻňđ vǿįŀǻħ, ẅě ħǻvě ǻ Ųșěř ẅħǿ įș vǻŀįđ ǿvěř                                              92          return false;
    țẅǿ-fǻčțǿřș ǿf ǻųțħěňțįčǻțįǿň.                                                            93       }
                                                                                              94     }
                                                                                              95 }




    ČǾMPǺŇỲ                                                               PŘǾĐŲČŤȘ                               PŘİČİŇĢ                            ŲȘĚ    ČǺȘĚȘ                     ǺPİ   &   ĐǾČȘ




    Ǻbǿųț Țẅįŀįǿ                                                          Přǿģřǻmmǻbŀě Vǿįčě                     Vǿįčě Přįčįňģ                      Čųșțǿměř Șțǿřįěș                 Qųįčķșțǻřțș


    Ǿųř Ňįňě Vǻŀųěș                                                       Ěŀǻșțįč ȘİP Țřųňķįňģ                   Měșșǻģįňģ Přįčįňģ                  Șħǿẅčǻșě                         Țųțǿřįǻŀș


    Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș                                             Přǿģřǻmmǻbŀě Vįđěǿ                     ȘİP Țřųňķįňģ Přįčįňģ               Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň        ǺPİ Řěfěřěňčě


https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#10                                                                                                                                   1/2
                                                                                                                      Ex. 22, p. 226
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                                    Twilio Docs:              1-22 with
                                                 Two­Factor Authentication Filed  03/28/16
                                                                              Authy                Page 25 of 27 Page
                                                                                    with PHP and Laravel
                                                          ID #:249
    Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș    Ħěŀpěř Ŀįbřǻřįěș


    Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș   Bŀǿģ


    Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș               Ħěŀp


    Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                          Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș


                                          Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                          Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ


                                          Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                      Ẅħįțě Pǻpěřș




    İŇQŲİŘİĚȘ




    Čǿňțǻčț Přěșș                Șųppǿřț

    Přěșș                        Șțǻțųș     Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ    Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#10                                                        2/2
                                                                             Ex. 22, p. 227
3/27/2016           Case 2:16-cv-02106-PSG-SS       Document
                                          Twilio Docs:              1-22 with
                                                       Two­Factor Authentication Filed  03/28/16
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                                                                                          with PHP and Laravel
                                                                ID #:250

                                                                   PŘǾĐŲČŤȘ          &   PŘİČİŇĢ           ŲȘĚ   ČǺȘĚȘ           ǺPİ    &   ĐǾČȘ          ŇǾŤ   Ǻ   ĐĚVĚĿǾPĚŘ?                   ȘİĢŇ    ŲP       ĿǾĢ   İŇ




  țẅįŀįǿ
    ŤẄİĿİǾ           ĐǾČȘ
                                                                                                                                             Qųįčķșțǻřț         Țųțǿřįǻŀș        ǺPİ Řěfěřěňčě            Ħěŀpěř Ŀįbřǻřįěș




                                                                                                                                        Țẅǿ Fǻčțǿř Ǻųțħěňțįčǻțįǿň (2FǺ) ħěŀpș ķěěp ỳǿų ųșěř
    țẅǿ-fǻčțǿř ǻųțħěňțİčǻțİǿň ẅİțħ ǻųțħỳ                                                                                                ǻččǿųňțș șěčųřě bỳ vǻŀįđǻțįňģ țẅǿ "fǻčțǿřș" ǿf įđěňțįțỳ. Mǿșț
                                                                                                                                        ŀǿģįň șỳșțěmș ǿňŀỳ vǻŀįđǻțě șǿměțħįňģ ỳǿųř ųșěř ķňǿẅș, ŀįķě ǻ
    pħp | ŀǻřǻvěŀ                                            MǾŘĚ             ĿǺŇĢŲǺĢĚȘ            ĢĚŤ   ŤĦĚ   ČǾĐĚ                     pǻșșẅǿřđ. Ỳǿų čǻň mǻķě įț ...




                                                                                                                       PĦP Țųțǿřįǻŀ
                                                                                                                                                                                                      Vįěẅ Fųŀŀ Șčřěěň 
                                                                                             / ǻpp / Ųșěř.pħp                                                                                                           
    Ť Ẅ Ǿ - F Ǻ Č Ť Ǿ Ř   Ǻ Ų Ť Ħ Ě Ň Ť İ Č Ǻ Ť İ Ǿ Ň   Ẅ İ Ť Ħ   Ǻ Ų Ť Ħ Ỳ

                                                                                              66          CURLOPT_POSTFIELDS => $params,
                                                                 Ỳǿų đįđ įț! Ģǿǿđ fǿř ỳǿų
                                                                                              67       );
                                                                :)                          68
                                                                                              69       $ch = curl_init();
                                                                                              70       curl_setopt_array($ch, $defaults);
    ẄĦĚŘĚ          ŤǾ      ŇĚXŤ?
                                                                                              71       $output = curl_exec($ch);
                                                                                              72       curl_close($ch);
    Țħǻț'ș įț! Ẅě'vě jųșț įmpŀěměňțěđ țẅǿ-                                                    73       $json = json_decode($output);
    fǻčțǿř ǻųțħ ųșįňģ țħřěě đįffěřěňț měțħǿđș                                                 74
                                                                                              75       return $json;
    ǻňđ țħě ŀǻțěșț įň Ǻųțħỳ țěčħňǿŀǿģỳ.
                                                                                              76     }
                                                                                              77
    İf ỳǿų'řě ǻ PĦP đěvěŀǿpěř ẅǿřķįňģ ẅįțħ                                                    78     public function sendToken() {
    Țẅįŀįǿ, ỳǿų mįģħț ẅǻňț țǿ čħěčķ ǿųț țħěșě                                                 79       $authy_api = new AuthyApi(getenv('AUTHY_TOKEN'));
                                                                                              80       $sms = $authy_api‐>requestSms($this‐>authy_id);
    ǿțħěř țųțǿřįǻŀș.                                                                          81
                                                                                              82       return $sms‐>ok();
    Čǻŀŀ Țřǻčķįňģ                                                                             83     }
                                                                                              84
    Měǻșųřě țħě ěffěčțįvěňěșș ǿf đįffěřěňț                                                    85     public function verifyToken($token) {
                                                                                              86       $authy_api = new AuthyApi(getenv('AUTHY_TOKEN'));
    mǻřķěțįňģ čǻmpǻįģňș ẅįțħ ųňįqųě pħǿňě                                                     87       $verification = $authy_api‐>verifyToken($this‐>authy_id, $token);
    ňųmběřș.                                                                                  88
                                                                                              89       if($verification‐>ok()) {
                                                                                              90          return true;
    Șěřvěř Ňǿțįfįčǻțįǿňș vįǻ ȘMȘ                                                              91       } else {
                                                                                              92          return false;
    Fǻșțěř țħǻň ě-mǻįŀ ǻňđ ŀěșș ŀįķěŀỳ țǿ ģěț                                                 93       }
                                                                                              94     }
    bŀǿčķěđ, țěxț měșșǻģěș ǻřě ģřěǻț fǿř țįměŀỳ
                                                                                              95 }
    ǻŀěřțș ǻňđ ňǿțįfįčǻțįǿňș. Ŀěǻřň ħǿẅ țǿ șěňđ
    ǿųț ȘMȘ (ǻňđ MMȘ) ňǿțįfįčǻțįǿňș țǿ ǻ ŀįșț




    ČǾMPǺŇỲ                                                               PŘǾĐŲČŤȘ                               PŘİČİŇĢ                            ŲȘĚ    ČǺȘĚȘ                     ǺPİ   &   ĐǾČȘ




    Ǻbǿųț Țẅįŀįǿ                                                          Přǿģřǻmmǻbŀě Vǿįčě                     Vǿįčě Přįčįňģ                      Čųșțǿměř Șțǿřįěș                 Qųįčķșțǻřțș


    Ǿųř Ňįňě Vǻŀųěș                                                       Ěŀǻșțįč ȘİP Țřųňķįňģ                   Měșșǻģįňģ Přįčįňģ                  Șħǿẅčǻșě                         Țųțǿřįǻŀș


    Ǿųř Ŀěǻđěřșħįp Přįňčįpŀěș                                             Přǿģřǻmmǻbŀě Vįđěǿ                     ȘİP Țřųňķįňģ Přįčįňģ               Țẅǿ-Fǻčțǿř Ǻųțħěňțįčǻțįǿň        ǺPİ Řěfěřěňčě


https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#11                                                                                                                                   1/2
                                                                                                                      Ex. 22, p. 228
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                                    Twilio Docs:              1-22 with
                                                 Two­Factor Authentication Filed  03/28/16
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                                                                                    with PHP and Laravel
                                                          ID #:251
    Țħě Țěǻm                              ȚǻșķŘǿųțěř                      Čŀįěňț Přįčįňģ              Ǻppǿįňțměňț Řěmįňđěřș    Ħěŀpěř Ŀįbřǻřįěș


    Přěșș & Měđįǻ                         Ňěțẅǿřķ Țřǻvěřșǻŀ Șěřvįčě       Ňěțẅǿřķ Țřǻvěřșǻŀ Přįčįňģ   Đįșpǻțčħ Ňǿțįfįčǻțįǿňș   Bŀǿģ


    Țẅįŀįǿ.ǿřģ                            Přǿģřǻmmǻbŀě ȘMȘ                ȚǻșķŘǿųțěř                  ĚȚǺ Ǻŀěřțș               Ħěŀp


    Čǻřěěřș                               İP Měșșǻģįňģ                    Ŀǿǿķųp                      Ǻųțǿmǻțěđ Șųřvěỳș


                                          Ǻųțħỳ                           İňțěřňǻțįǿňǻŀ Čǿvěřǻģě      Mǻșķěđ Pħǿňě Ňųmběřș


                                          Mǿňįțǿř                                                     Vįșųǻŀ Ěșțįmǻțěș


                                          Ŀǿǿķųp                                                      Đěvěŀǿpěř Ňěțẅǿřķ


                                          Șųppǿřț Pŀǻňș                                               Ẅěbįňǻřș


                                                                                                      Ẅħįțě Pǻpěřș




    İŇQŲİŘİĚȘ




    Čǿňțǻčț Přěșș                Șųppǿřț

    Přěșș                        Șțǻțųș     Șǻŀěș   Țěčħňįčǻŀ   Čǿmmųňįțỳ    Ŀěģǻŀ




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https://www.twilio.com/docs/tutorials/walkthrough/two­factor­authentication/php/laravel#11                                                        2/2
                                                                             Ex. 22, p. 229
